Case 23-12671-LMI Doc 25 Filed 05/30/23 Page 1 of 3 |

UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

 

CHAPTER.13 PLAN (individual “Adjustment of Debts)

 

 

 

 

[| Original Plan
[mi] Ist Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable) i
[| Modified Plan. (Indicate {st, 2nd, etc. Modified, if applicable)
DEBTOR: Marlene Suarez JOINT DEBTOR: Alexander Suarez CASE NO.: 23-12671-LMI _
SS#: xxx-xx- 3685 SS#: Xxx-xx-1280
L NOTICES”
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Loca

Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2, Debtor(s) must commence plan payments within 30 days of filing

the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

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To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may

be reduced, modified or eliminated. :

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check gone box

on each line listed below in this section to state whether the plan includes. any of the following:

 

 

 

 

 

 

 

 

IY. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

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A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any) junused

amount will be paid to unsecured. nonpriority creditors pro-rata under the plan:

 

 

1. $1,097.22 formonths 1 to 2 ;
2, $1,097.22 formonths 3 to _60_;
3. $0.00 formonths ss to.
B. DEBTOR(S)' ATTORNEY'S FEE: [7] NONE [7] PRO BONO
Total Fees: — $4,700.00 Total Paid: _ $2,725.00 Balance Due: $1,975.00
Payable $987.50 /month (Months 1 to 2 ) !

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4000 Chapter 13 Case, $700 2 Motions to Avoid Lien

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
UL TREATMENT OF SECURED CLAIMS  [_] NONE
A. SECURED CLAIMS: [gi] NONE

B. VALUATION OF COLLATERAL: NONE.
C. LIEN AVOIDANCE [7] NONE

Judicial liens or nonpessessory, nonpurchase money security interests securing the claims will be avoided to the extent that they

impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR 7004 and LR
3015-3.

LF-3} (rev. 04/01/22) Page | of 3

The valuation ofa secured claim, set out in Section IIT, which may result ina (] Included [im] Not -acluded |
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] Included C] Not included |
out in Section HT : a
Nonstandard provisions, sct out in Section [X [-] Included [@] Not included |
Iv.
Vv.

VI.
VIL.

VIEL.

IX.

Case 23-12671-LMl

Doc 25 Filed 05/30/23 Page 2 of 3

Debtor(s); Marlene Suarez, Alexander Suarez

 

 

 

1. Creditor: Midland Funding, LLC

Collateral: 9798 NW 126th Terrace

 

Address: PO Box 290335
Tampa, FL. 33687

Hialeah, FL 33018

 

Exemption: [1 U.S.C. § 522 as

 

 

Last 4 Digits of Account No.:

2. Creditor: Fifth Third Bank

Collateral:

 

Address: PO Box 740789
Cincinnati, OH 45274

 

Exemption: 11 U.S.C. § 522 as

 

 

Last 4 Digits of Account No.:_

 

D. SURRENDER OF COLLATERAL:

[™] NONE

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Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee,
The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these créditors, Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor

Santander Consumer USA 7052

2019 Mazda

 

 

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § [322(a)(4)] [Bi] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay

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[7] NONE
to 60.)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B.
C. ARATELY CLASSIFIED
STUDENT LOAN PROGRAM [Bi] NONE

 

EXECUTORY CONTRACTS AND UNEXPIRED LEASES [ui] NONE

INCOME TAX RETURNS AND REFUNDS:

fia] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

NON-STANDARD PLAN PROVISIONS [if] NONE

LF-31 (rev. 04/0 1/22)

Page 2 of 3

[@] If checked, the Debtor(s) will amend/modity to pay 100% to all allowed unsecured nonpriority claims.

[a] NONE

 
Case 23-12671-LMI Doc 25 Filed 05/30/23 Page 3of3

Debtor(s); Marlene Suarez, Alexander Suarez Case number: 23-1267 tL LMI

 

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

1 declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

 

 

/sf Marlene Suarez Debtor $/30/2023 /s/ Alexander Suarez Joint Debtor 5/30/2023

Marlene Suarez Date Alexander Suarez Date .

/sf Ricardo Corona, Esq. 5/30/2023 ee
Date |

Attorney with permission to sign on
Debtor(s)! behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s).!

By filing this document, the Attor ney for Debtor(s) or Debtor(s), if not represented by counsel, certifics that. the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph EX.

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attorney to sign documents on the Debtor(s)’ behalf.

 

LF-31 (rev, 04/01/22) Page 3 of 3
